

People v Rodriguez (2019 NY Slip Op 05498)





People v Rodriguez


2019 NY Slip Op 05498


Decided on July 9, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 9, 2019

Sweeny, J.P., Manzanet-Daniels, Webber, Gesmer, Kern, JJ.


9841 1650/14

[*1]The People of the State of New York, Respondent,
vFelix Rodriguez, Defendant-Appellant.


Christina A. Swarns, Office of the Appellate Defender, New York (Gabe Newland of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Jack H. Peterson-Daily of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ethan Greenberg, J. at plea; Alvin Yearwood, J. at sentencing), rendered August 17, 2016,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: JULY 9, 2019
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








